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y
                                       McDANIEL tO ANDERSON,                    L.LP
                                                    ATTORNEYS AT LAW
                                                  4942 WINDY 1-111..1.. DRIVE
       1.., BRUCE McDANIEL.                       POST OfflC£ BOX. 5SJSG                      TI!.I..EPHONE
       WLLLII\M E. ANDERSON                                                                ( 919) 872·!>000
                                             RALEIGH. NORTH CAROLINA 27658
                                                                                              TELEPAX
                                                                                           ( 919) 790·927:3

                                                  April 24, 2014


                                                                    BY FACSIMI1,E: 252-638-1529
         Hon. Louise w. Flanagan                                    AND U.S. MAIL
         U.S. District Judge
         Eastern District of N.C.
         413 Middle Street
         New Bern, North Carolina                  28560

                  Re:         U.S. Commodity Futures Trading Commission
                              v. Yellowstone Partners, Inc. and
                              Dennis Todd Hagemann
                              Case No. 5:10-CV-85-FL

         Dear Judge Flanagan:

               Enclosed herewith is a courtesy copy of my Revised Final
         Report, Application. for. F).nal Payment of Receivership Fees, and
         Motion to Close Out Receivership Case with proposed Order for
         your consideration in connection with the subject case. This
         report is being sent directly to you because I have found that
         the Clerk's Office will otherwise hold onto the motion at least
         two weeks before it is forwarded to you for your consideration,
         and :Ln view of the considerable time involved in the administra-
         tion of this receivership estate, with increasing creditor
         inquiries, I felt it would be appropriate to get this document,
         along with the proposed order, to you as soon as possible.

              Thank you for your consideration in these regards and if
         you have any questions with regard to this matter, please have
         your CleJ::k contact me at the address and/or phone number shown
         above.

                                                                    Sincerely yours,




         LBMcD/kw
         Enclosures



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                              IN THE UNirED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                       WESTERN DIVISION


     U.S. COMMODITY. FUTURES
     TRADING COMMISSION,
               Plaintiff

                     v.                                         CIVIL ACTION FILE
                                                                No. 5:10-CV-85-FL
     YELLOWSTONE PARTNERS, INC.
     and DENNIS TODD HAGEMANN,
               Defendants


                            RECEIVER'S REVISED FINAL REPORT,
                  AP?LICATION FOR FINAL PAYMENT OF RECEIVERSHIP FEES,
                       AND MOTION TO CLOSE OUT RECEIVERSHIP CASE


             NOW COMES the Receiver, t. Bruce McDaniel, and hereby files

     this Revised Final Report,              F~nal   Application for Receivership

     Fees, and Motion to Close Out Receivership Case.

             IN SUPPORT THEREOF, the Receiver would show the court as

     follows:

                                  RECEIVER'S REVISED FINAL REPORT

                                           Background Facts

             1.     On March 9, 2011, the United Sta.tes Commodity Futures

     Trading Commission filed a complaint for injunctive relief,

     civil monetary penalties, and other equitable relief including

     the appointment of Receiver in the subject proceedings.                   On

     March 31, 2011, the court issued an order appointJ.n9 att.orney




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     1. Bruce McDaniel of Raleigh, North Carolina as Receiver and he

     continued to function in that capacity to the date hereof.

             2.      Since his appointment, the Receiver has reconstructed

     all relevant bank accounts, has identified all rightful

     claimants, and has liquidated all assets of the receivership

     estate to cash.          The receivership estate is now ready to be

     closed.

                                       Investor Claims

             3.      Pursuant to previous court order, the Receiver

     established claim procedures and the approval of a claim form,

     all approved by the court.           The precise amount ordered to be

     distributed to investors, totaling $254,173.39, was duly paid to

     claimants who made claims against the receivership estate, the

     precise amount ordered by the court.              Those checks were duly

     issued and all have been cashed or otherwise negotiated, with

     the result that there now remains in the receivership estate the

     exact amount of $112.43, the amount roughly estimated by the

     Receiver to be available after the negot1atibn of the

     distribution checks.

                                          Litigation

             4.      There has been and as of the date hereof no litigation

     involving the receivership estate.




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                                     Professional Fees

             5.    Other than discussed herein, there are no pending and

    unpaid legal fees a?plied to be paid to the Receiver or any

    other professional.

                  APPLICATION FOR FINAL PAYMENT OF RECEIVERSHIP FEES

             6.    In view of the foregoing, the Receiver hereby requests

    that the court enter an order o:cdering the payment to him of the

    balance in the receivership estate bank account of $112.43, or

    such reduced amount as may be available in the event the bank

    charges several dollars for the Receiver's use of counterchecks

    in order to make all the distributions previously ordered by the

    court, in consideration of the Receiver's forbearance of some

    $590.00, being the shortfall on the Receiver's last application

    for fees due to the unavailability of receivership estate funds,

    as well as        t~e   subsequent and ongoing work by the Receiver,

    including the work necessary to close out the receivership

    estate, close the bank account, handle residual claimant

    correspondence, and other miscellaneous correspondence, and

    other similar termination matters involved in the termination of

    the receivership estate, as well as storing the receivership

    records for a reasonable amount of time and subsequently

    disposing of the same.




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                            MOTION TO CLOSE OUT RECEIVERSHIP CASE

              7.      In view of the foregoing, the Receiver hereby moves ths

      court to enter an order approving the Receiver's Revised Final

      Report set forth hereinbefore, ordering the              payme~t   of the net

      amount in the receivership estate bank account of some $112.43

      or such lesser amount as may be available in the bank account at

      that time, in order to close out the bank account, and otherwise

      terminate the receivership and close the subject case.

              8.   More specifically, the Receiver requests that the court

      enter an order that the Receiver retain the receivership records

      for a reasonable time thereafter and, at his discretion,

      subsequently abandon and/or destroy all records relating to the

      receivership estate as the Receiver subsequently deems proper,

      closing the receivership estate to any further proceedings,

      absent any good cause shown, and discharging the Receiver from

      any further services or responsibility to             t~e   receivership

      estate.

              This the 24th day of April, 2014.


                                                  /s/L. Bruce McDaniel
                                                  L. Bruce McDaniel
                                                  Receiver for Defendants
                                                  N.C. State Bax No. 5025
                                                  Post Office Box 58186
                                                  Raleigh, North Carolina 27658
                                                  Tel:     (919) 872-3000
                                                  Fax:     (919) 790-9273
                                                  mcdas@mcdas.com


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                                   C~RTIFJ.CATE   OF SERVICE

              This is to certify that the undersigned has this day served

       a copy of the foregoing document upon all parties of record by

       depositing a copy of the same in the custody of the U.S. 2ostal

       Service, first class postage prepaid, addressed as follows:

       Dennis Todd Hagemann
       Inmate No. 1274358
       Individually & as President of
       Yellowstone Partners, Inc.
       Nash Correctional Center
       Box 600
       Nashville, NC 27856

       Mr. Jason Mahoney
       U.S. Commodity Futures
          Trading Commission
       Three Lafayette Center
       Washington, DC 20581

       Federal Trade Commission
       ATTN: Gregory A. Ashe
       600 Pennsylvania Avenue, N.W.
       Room NJ-3158
       Washington, D.C. 20580

              This the 24th day of April, 2014.



                                                      /s/L. Bruce McDaniel
                                                      L. Bruce McDaniel
                                                      Receiver for Defendants
                                                      N.C. State Bar No. 5025
                                                      Post Office Box 58186
                                                      Raleigh, North Carolina 27658
                                                      Tel:   ( 919) 872-3000
                                                      Fax:   (919) '790-9273
                                                      mcd.as@mcdas.com




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                               IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                        WESTERN DIVISION


     U.S. COMMODITY FUTURES
     'I'RADING COMMISSION,
                 Plaintiff

                      v.                                   CIVIL ACTION FILE
                                                           No. 5:10-CV-85-FL
     YELLOWSTONE PARTNERS, INC.
     and DENNIS TODD HAGEMANN,
               Defendants


                 ORDER. APPROVING RECE:IVER' S REVISED FINAl, REPORT,
                APPLICATION FOR FINAL PAYMENT OF RECEIVERSHIP FEES,
                                AND TERHINATING RECEIVERSHIP CASE
                                                              -=--------

             THIS MATTER COMNIG BEFORE THE COURT on the unopposed motion

     of   th~   Receiver, L. Bruce McDaniel, upon his Revised Final

     Report, Application for Final Payment of Receivership Fees, and

     Motion to terminate and otherwise close out the subject

     receivership case.

             This report, application for final fees, and motion to

     close out this receivership case was unopposed              by   parties to

     this action, Yellowstone Partners, Inc. and Dennis Todd

     Hagemann, as \>Jell as the U.S. Commodity Futures Trading

     Commission, also unopposing this report, application, and

     motion.

             The court has reviewed this Revised Final Report, the

     Receiver's Application for Final Payment of Receivership Fees,



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       and Motion to Close Out Receivership Case, together with all

       other papers on file in this action.             The court also notes that

       pursuant to the Receiver's Report, Applj.cation, and Motion to

       terminate receivership case, that all interested parties have

       the right to file objections to the requests by the Receiver,

       and no objections have been filed.

              Being so informed, the court finds that good and sufficient

       funds exist for the relief requested by the Receiver's report,

       application, and motion.

              Accordingly, IT IS ORDERED that:

              1.      The Receiver's Revised Final Report is approved in all

       respects.

              2.      The Receiver's Application for Final Payment of

       aeceivership Fees in the amount of $112.43, or such lesser

       amount as may be available at the time the receivership estate

       bank account is closed out, be paid for unpaid services rendered

       by the Receiver as noted in his Application relating thereto.

              3.      The Receiver's Motion to Close Out Receivership Case

       be, and it hereby is, granted in all respects, and more

       specifically the Receiver is authorized to retain the

       receivership documents for a reasonable time hereafter, and

       thereafter in his discretion to abandon and/or destroy all

       records relating to the receivership case, and that the



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     Receiver, effective as of the date of this order, is discharged

     from any further services or responsibilities to the

     receivership estate.

             SO ORDERED, this                 day of April, 2014.




                                                  Louise W. Flanagan
                                                  United States District Judge




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